22

23

Case 4:22-cv-00074-BMM Document 100-15 Filed 08/08/23 Page 1of 3
3

178923 MRE Pages:
STATE OF MONTANA VALLEY COUNTY
RECORDED; 08/26/2022 11:23 KOI: L PENDEN R

MARIE PIPPIN CLERK AND RECORDE
FEE: $24.00 BY: iy A A i I Kp ‘) oe
TO: CHRISTENSEN, FULTON & FITZ\PLLC “19 36TH’ST W SUITE 3, _

RETURN TO:

Joseph L. Breitenbach

CHRISTENSEN, FULTON & FILZ, PLLC
19 36 St, W., Suite 3

Billings, MT 59102-4303

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA’
GREAT FALLS DIVISION

CHRISTOPHER TRAVIS, individually and)
derivatively on behalf of MILK RIVER) Cause No.: CV-22-74-GF-BMM-JTJ
HUNTING PRESERVE, LLC, a_ dissolved)
Montana limited liability company, )

Plaintiff, )
VS. )
)

JOHN KEVIN MOORE, KIRK ALLENS
SCOGGINS, STEVEN SHRADER and DEBRA)
SHRADER d/b/a DAYTRONICS,) LIS PENDENS
DAYTRONICS, LLC, an Idaho limited liability)
company, MICHAEL WELCOME, THE)
COMMISSIONER OF SECURITIES AND)
INSURANCE, OFFICE OF THE MONTANA)
STATE AUDITOR, the UNITED STATES)
DEPARTMENT OF JUSTICE, JOHN DOES I-)
X, and all other unknown heirs or any)
unknown devisees of any deceased person, or)
any other person, unknown, who claim or may)
claim any right, title, estate, or interest therein)
or lien or encumbrance thereon adverse to)
Plaintiffs ownership or any cloud upon)
Plaintiffs title thereto, whether such claim or)
possible claim be present or contingent,

)
Defendants.
)

TO: Clerk and Recorder of Valley County, Montana:

“1- EXHIBIT

Christensen Fulton & Filz, PLLC
J:\77000.001\Pleadings\Federal Court\220824.Lis Pendens.doc : | 5

22

23

Case 4:22-cv-00074-BMM Document 100-15 Filed 08/08/23 Page 2 of 3

178923 Page 2 of 3

PURSUANT to Mont. Code Ann. § 70-28-106, notice is hereby given that the

Plaintiff above-named has filed a Verified Complaint to Quiet Title against the

Defendants above-named to quiet title in Plaintiffs name in the following described

property located in Valley County, Montana:

Township 28 North, Range 41 East, MPM

Section 28:

Section 28:

Section 29:

NW14NW14
EXCEPTING THEREFROM the Railroad and Highway Right of Way
described as follows:

Beginning at the Northwest Section corner of Section 28; thence S. oD 09'
W. a distance of 330.00 feet along the west section line of said Section 28
to the true point of beginning; thence S. oD 09' W. continuing along the
section line a distance of 344.28 feet; thence S. 71D 44' 58" E. a distance of
1392.74 feet; thence N. oD 13' 32" E. along the 1/16 section line a distance
of 334.88 feet; thence N. 71D 23' 18" W. along the Highway R/W line a
distance of 696.00 feet to highway station 503+00; thence N. 18D 36' 42"
E. a distance of 20 feet; thence N. 71D 23' 18" W. along the Highway R/W
line a distance of 700.11 feet to the point of true beginning.

ALSO EXCEPTING therefrom all of the lands north of the U.S. Highway
No. 2 located in the NW¥%4NW!4 Section 28, Township 28 North, Range
41 East, MPM. (Deed reference: Book 124 Deeds page 852, Doc. No.

36749)

EXCEPTING therefrom lands conveyed to the State of Montana Highway
Commission and more particularly described in book 65 of Deeds on pages

613-614.

A strip or piece of land 185 feet wide in the EY2NW% lying between two
lines parallel to and distant respectively, 75 feet and 260 feet
southwesterly, measured at right angles, from the center line of the main
track of the railway of the Great Northern (now Burlington Northern)
Railway Company, as now located and constructed. (Deed reference book

63 MRE pages 27-28).

All that part of the right of way of the railway of Great Northern, now
Burlington Northern, lying between two lines parallel to and distant,
respectively, 75 feet and 260 feet Southwesterly, measured at right angles
from the centerline of the railway of the Great Northern Railway (now
Burlington Northern) Company, as now located and constructed and
extending from the East line of said Section 29 Northwesterly to a line
drawn at a right angle to said centerline of railway at a point therein

-2-
Christensen Fulton & Filz, PLLC
J:\77000.003\Pleadings\Federal Court\220824.Lis Pendens.doc

22

23

Case 4:22-cv-00074-BMM Document 100-15 Filed 08/08/23 Page 3 of 3

178923 Page 3 of 3

distant Northwesterly 800 feet, measured along said center line, from its
intersection with the East line of said Section 29. (Deed reference book 61

MRE pages 323-328)
Section 29: Lots 6, 7, 13, 15, S/2NEY%
Section 29: Lots 1, 2, 5, 8, 10, 11, NY2NE™ less railroad and highway right-of-way
Section 30: Lot 23

Township 28 North, Range 41 East, MPM

Section 28: Lots 2, 3, 8, 10, SW44NW%4, NWi4SW4
EXCEPTING from Lot 2 a tract of land more particularly described in
book 17 of Deeds on pages 42-43, Doc. No. 53396 — to Great Northern
Railway Company.

The filing of this Lis Pendens is deemed by the above statute to give notice of the
pendency of the action to all persons. For more information, please see the file in the
office of the Valley County Clerk of District Court.

DATED this x YP aay of August, 2022.

“|| fe FULTON & FILZ, PLLC

5 seph be
Attorney for Plaintiff

STATE OF MONTANA)
SS.

County of Yellowstone )

This instrument was acknowledged before me on this gat day of August, 2022,

(uae Oflu

by Joseph L. Breitenbach, attorney for Plaintiff.

Christensen Fulton & Filz, PLLC
J:\77000.001\Pleadings\Federal Court\220824.Lis Pendens.doc

